
The Office of Attorney Ethics having filed with the Court a petition pursuant to Rule 1:20-3(g) (4) and Rule 1:20-11, seeking **444the immediate temporary suspension from the practice of law of Linda D. Coffee of Camden, who was admitted to the bar of this State in 1994, and good cause appearing;
It is ORDERED that Linda D. Coffee is temporarily suspended from the practice of law, effective immediately and until the further Order of this Court; and it is further
ORDERED that Linda D. Coffee be restrained and enjoined from practicing law during the period of her suspension; and it is further
ORDERED that all funds, if any, currently existing or hereinafter deposited in any New Jersey financial institution maintained by Linda D. Coffee pursuant to Rule 1:21-6 shall be restrained from disbursement expect on application to this Court for good cause shown, pending the further Order of this Court; and it is further
ORDERED that Linda D. Coffee comply with Rule 1:20-20 dealing with suspended attorneys; and it is further *1225ORDERED that the entire record of this matter be made a permanent part of the respondent's file as an attorney at law of this State.
